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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN
                                    ____________________

 IN RE
                                                                 Case No. 20-00759-swd
 GOODRICH QUALITY THEATERS INC.,                                 Chapter 11 Filed: 02/25/2020
                                                                 Honorable Scott W. Dales
                        Debtor.                                  U.S. Bankruptcy Judge
                                                         /

       FORUM SHOPPING CENTER’S OBJECTION TO NOTICE TO CERTAIN
       CONTRACT PARTIES OF: (I) PROPOSED SALE OF DEBTOR’S ASSETS;
  (II) PROPOSED ASSUMPTION AND ASSIGNMENT OF DEBTOR’S CONTRACTS
  AND LEASES; (III) DEADLINE FOR OBJECTING TO PROPOSED CURE COSTS;
         AND (IV) HEARING ON THE REQUESTED APPROVAL THEREOF

               Forum Shopping Center, LLC (“Forum”), by and through its undersigned counsel,

brings this objection (“Objection”) to the above-captioned Debtor’s Notice to Certain Contract

Parties of: (I) Proposed Sale of Debtor’s Assets; (II) Proposed Assumption and Assignment of

Debtor’s Contracts and Leases; (III) Deadline for Objecting to Proposed Cure Costs; and

(IV) Hearing on the Requested Approval Thereof [D.N. 351] (the “Notice”) and states as follows:

               1.      On February 5, 2020 (the “Petition Date”), Goodrich Quality Theaters Inc.

(the “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States

Code (“Bankruptcy Code”).

               2.      On June 12, 2020, the Bankruptcy Court entered an Order (A) Approving

Bidding Procedures for the Proposed Sale of Substantially all of the Debtor’s Assets and the

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (B) Approving

Bid Protections, (C) Approving the Establishment of Cure Amounts, and (D) Scheduling a Final

Sale Hearing and Approving the Form and Manner of Notice Thereof [D.N. 346] (the “Bidding

Procedures Order”).




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                3.      The Bidding Procedures Order requires the Debtor to give notice to

counterparties of executory contracts and leases that the Debtor may want to assume and assign to

the purchaser of its assets.

                4.      On June 12, 2020, the Debtors filed the Notice. Schedule 3 to the Notice

lists the contracts and leases which the Debtor may assume and assign to the purchaser of its assets

and the cure amounts.

                5.      According to the Notice, if a party to a contract or lease listed on Schedule 3

disagrees with the cure amount set forth on Schedule 3, or otherwise does not want the Bankruptcy

Court to grant the relief requested in the Notice and/or the proposed assumption and assignment

of a contract or lease listed in Schedule 3, an objection to the Notice must be filed.

                6.      According to Schedule 3, the Debtor is party to a lease with Forum

regarding a movie theater property located at 1209 Forum Katy Parkway, Columbia, MO 65203

(the “Leased Property”), and the cure amount is $40,520.00.

                7.      It is Forum’s understanding that the cure amount of $40,520.00 constitutes

the Debtor’s estimate of unpaid real property taxes, which per the lease the Debtor is required to

pay.

                8.      On or about June 16, 2020, Forum provided a default notice, which is

attached hereto as Exhibit 1, to the Debtor. The default notice sets forth the existing defaults

under the lease.

                9.      Subsequent to providing the default notice, Forum received an inspection

report regarding the Leased Property, which is attached hereto as Exhibit 2.

                10.     As set forth in the default notice and inspection report, there are significant

defaults under the lease with respect to ongoing maintenance obligations of the Debtor.
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Specifically, the lease provides, among other things, that the Debtor must maintain the sidewalks

and parking areas, mechanical systems, equipment and appliances, and the foundation, walls and

roof. According to the inspection report, a significant amount of the Debtor’s maintenance

obligations have not been performed, which constitute defaults under the lease. A copy of the

lease is attached as Exhibit 3.

               11.     Although Forum does not object specifically to the monetary cure amount

of $40,520.00 for unpaid rent and real property taxes, as that number is very close to the number

set forth in the default notice regarding those items ($40,069.06), Forum files this objection in

order to provide notice of and preserve its rights with respect to the significant maintenance

defaults under the lease.

               12.     Section 365(b) of the Bankruptcy Code provides that the debtor may not

assume an executory contract or lease on which there has been a default unless the debtor (1) cures

the default or provides adequate assurance that the default will be promptly cured, (2) compensates

or provides adequate assurance that the debtor will promptly compensate the other party for any

pecuniary loss to the party resulting from the default, and (3) provides adequate assurance of future

performance under the contract or lease. See also Richmond Leasing Co. v. Capital Bank, N.A.,

762 F.2d 1303, 1309–10 (5th Cir. 1985); In re FPSDA I, LLC, 450 B.R. 392, 397-98 (Bankr.

E.D.N.Y. 2011).

               13.     Under § 365(b)(1)(B), a non-debtor party to a lease is entitled to any

element of actual pecuniary loss resulting from the debtor’s default that it is able to prove, that is

authorized by the parties’ agreement, and that is reasonable. In re DMSI, Inc., 405 B.R. 698, 704

(Bankr. D. Del. 2009).
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                  14.      In order to assume the lease, the Debtor must cure all defaults under the

lease. As a result of the Debtor’s defaults under the lease, Forum has suffered damages, which

must be cured, in the total amount of at least $1,358,069.061 pursuant to the lease.2

                  15.      Forum reserves its right to amend or supplement this Objection as additional

information becomes available.

                  WHEREFORE, Forum respectfully requests the Bankruptcy Court (i) deny

Debtor’s request to assume and assign the lease unless the above-described defaults are cured;

(ii) determine the cure amount is at least $1,358,069.06, plus whatever additional costs might be

incurred as necessary repairs of the Leased Property are completed, if this Court orders assumption

and assignment of the lease; and (iii) grant such other and further relief to Forum as is appropriate.

                                                          MILLER JOHNSON
                                                          Attorneys for Forum Shopping Center, LLC



Dated: June 22, 2020                                  By: /s/ Rachel L. Hillegonds
                                                         Rachel L. Hillegonds (P67684)
                                                         hillegondsr@millerjohnson.com
                                                         Business Address:
                                                         P.O. Box 306
                                                         Grand Rapids, MI 49501-0306
                                                         (616) 831-1700




1
  The inspection report states a minimum of $1,318,000.00 of repair/maintenance costs are immediately necessary,
plus $40,069.06 of unpaid rent and real property taxes.
2
  This amount covers some, but potentially not all, rejection damages incurred by Forum in the event the lease is not
assumed and assigned to a buyer of the Debtor’s assets. Forum filed a proof of claim (No. 40) setting forth the
amount of unpaid rent on the Petition Date. Forum intends to amend its proof of claim should its lease be rejected
by the Debtor.
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                                                                 Exhibit
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      Commercial Building Inspection Report




1209 Forum Katy Pkwy, Columbia MO 65203
Inspection Date: May 20, 2020
Prepared For: Jay R. Lindner, Lindner Properties

Prepared By:
Barry Dennison, Director Facilities Management
Coil Facilities Management
209 E Broadway
Columbia, MO 65203
(573) 554-1888

Inspector:
Tyler Morts
Coil Facilities Management
                                                                                Exhibit
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 Summary

1) This is a typical movie theater in which maintenance has been satisfactory, for the most part. Although,
   major structural deficiencies were noted.
2) The exterior walls were in satisfactory condition.
   a) There is an area in need of repair to the north was observed. It appears to have settled and joints
       separating. This area has shown water running from the room down the wall. Repairs are
       recommended.
   b) The handicap ramp located on the north end appears to have been struck with snow removal
       equipment and broken brick and joints are noted. Repairs are recommended.
3) Interior walls
   a) The north stairwell has noticeable cracks and separation. I would consider this to require major repairs. A
       structural engineers’ advice should be obtained.
   b) The main block wall running North-South on the upper level is severely cracked and separating. This wall
       ties into the stairwell walls and floor. A structural engineers’ advice should be obtained.
   c) Windows and doors were found to be in satisfactory condition.
4) The fire suppression system certification has expired and requires the yearly Fire Protection inspection. We did
   not set off the alarms or test the systems.
5) The roofing system is separated into three separate roofs.
   a) The front entrance & ticket sales and waiting area has several areas of possible leakage were noted.
       This area had 113 individual roof patches. Stained ceiling tiles were noted. Repairs/replacement are
       recommended.
   b) The concession and restroom roof appears to be in satisfactory condition but is aging. Stained ceiling
       were noted. Repairs are recommended.
   c) The storage/mechanical room and the north hallway roof has a major slop issue where rainwater does
       not drain from the room and is pooling in various areas. It shows numerous areas of low, non-sloping
       areas. Repairs are recommended.
   d) The main Theater roof is older and worn. There were significant leak indicators on the inside ceilings
       noted in this area. Replacement is recommended.
6) The electrical system was generally found to be in satisfactory condition. Electrical panels appear in
   good serviceable condition. Majority of the service panels have spares available.
7) Majority of the roof heating and air conditioning units are showing signs of age. No refrigerant levels were
   tested although the building was cool, and the units were running.
8) The plumbing system was generally in satisfactory condition. All drains were flowing, and no laboratories were
   backed up.
9) The ventilation systems are satisfactory for the most part. Exhaust fans were running as design. No CFM’s were
   measured.

 Summary of Repairs
 Summary of Necessary Repairs

 The following table summarizes the recommendations made in this report that rare of an immediate necessary
 nature.

 Recommendations                                                              Budget Cost
 Exterior Wall (Area to the North, corner of dock area) Repair                $6,000 - $10,000
 Exterior Wall (North Handicap ramp) Repair                                   $2,000 – $4,500
 Asphalt Parking lot Repair                                                   $30,000 - $40,000
 North Stair well – Requires structural engineer                              Unknown - $300,000
 Interior Block Wall/2nd Floor, north-south- Requires a structural engineer   Unknown - $300,000
                                                                                                               3
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Roof A, B, C, D Replace                                             $450,000
Rooftop HVAC should be evaluated for life expectancy                $230,000 - $290,000




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 Introduction

 As per request, a visual inspection was performed of the property. Our inspection was limited to identify
 the existing conditions of the following readily visible building components.

    1)   Exterior Components – Cursory
    2)   Interior Components – Cursory
    3)   Fire Protection and inspections – Cursory
    4)   Roofing System (4 separate roofs) – Cursory
    5)   Electrical – Cursory
    6)   Heating Ventilation Air Conditioning System (HVAC) – Cursory
    7)   Plumbing System - Cursory
    8)   Exhaust / Ventilation - Cursory

 This report provides recommendations, preliminary cost estimates and priorities for:

1) Remedying major deficiencies,
2) Updating ageing major components, and
3) Undertaking further detailed investigations

The recommendations are for remedial actions that are beyond the normal maintenance of the building. Costs
are provided for recommendations expected to exceed $300,000.00 The costs are only intended to provide
an order of magnitude. Contractors should be contacted for exact quotations.

This report is initial in nature. Before any major repairs are undertaken, we recommend that a specialist
perform a detailed condition survey and develop a plan of action.

Only the items specifically addressed in this report were examined. No comment is offered on fire protection
equipment or on fire regulation, building code and building bylaw compliance, or environmental concerns.

Building Description

This is a single-story, with a projection room on an upper 2nd level. No other use for the 2nd level besides
projection room. It was determined that the building has an approximately area of 32,000 plus square feet. The
building is presently occupied by a movie theater, currently closed for business due to the Convid-19 issues, but
not vacant. This building has the utilities on.

The age of the building is unknown for this report.

ADA and Accessibility Review

Complete review for compliance with ADA and accessibility requirements was not conducted. Visual review indicates
the restrooms are not in compliance.


Document Review and Interviews
No plans were available. No additional documents regarding past repairs or maintenance were available. It is
recommended that these documents be obtained for review. The owner was available for discussions. Public
records review was not included. A brief interview was conducted with the theaters’ manager from out of state.
His knowledge of the building was quite limited.



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Exterior

Description

1) The exterior walls are decorative concrete block.
2) The windows are aluminum frame double glazed units. All windows are fixed glazing.
3) There is a poured concrete sidewalk on all sides.
   a) There is two handicap accessible ramps to the building.
4) There is an asphalt parking lot at the north and west side of the property and asphalt service roads at the side.

Observations and Discussion

1) The exterior of the building is in generally good condition and maintained.
2) A damaged section was noted at the north of the building adjacent to the dock area. There is the source of leak
   from the roof that may be adding to the block breakage and cracks.
3) The metal exterior doors are in well maintained satisfactory condition. Minimal deterioration was noted.
4) No overhead doors were noted.
5) The windows are in good condition.
6) The grading is satisfactory.
7) The poured concrete sidewalk at the front of the building is in satisfactory condition except for caulking (NP1)
   along the building and sidewalk edge.

Recommendations, Costs and Priorities:

 Recommendations                                                 Cost                  Time Frame
 Exterior Wall (Area to the North, corner of dock area) Repair   $6,000 - $10,000      When Feasible
 Exterior Wall (North Handicap ramp) Repair                      $2,000 – $4,500       When Feasible
 Asphalt Parking lot Repair                                      $30,000 - $40,000     When Feasible




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Interior

Description:

1)   The ceilings primarily consist of drop ceiling panels.
2)   The wall finishes consist of drywall and carpet style material.
3)   Bathroom finishes are drywall and tile.
4)   The floor coverings consist of tile and carpet.

Observation and Discussion:

1) The interior finishes are in generally satisfactory condition. It should be noted that extensive remodeling will be
   required should this property be used for anything other than a theater.
2) Stains were noted at many drop ceilings panels. The source is considered roof leakage.
3) Since interior components are subjective to some degree, our comments here will be general, except
   where functional concerns are noted.

Recommendations, Costs and Priorities:

 Recommendations                                                             Costs          Time frame

North Stair well – Requires structural engineer                            Unknown        - ASAP
                                                                           $300,000
Interior Block Wall/2nd Floor, north-south- Requires a structural engineer Unknown        - ASAP
                                                                           $300,000




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Life Safety Fire Protection

Description

1) The theater is equipped with a wet sprinkler system.

Observation and Discussion

1) Current inspection tags from Cintas were observed.
   a) Expired April 2020
2) Alarm and security systems were observed, but no inspections were noted.
   a) No alarms were tested during the inspection.

Recommendations, Costs and Priorities

 Recommendations                                          Costs               Time Frame

 Fire / Life Safety Code   Keep current with              Minimal             Every Year - 1 year
 Inspections               inspections




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Roofing

Description:

Multi-Level Flat

1) The flat roofs is covered by a single-ply TPO & EDPM rubber membrane.

Roof Drainage

1) I have, for the use of this report separated the 4 roofs into its own identification.
   a) The west & entrance roof is above the ticketing and waiting area.
       i) The front entrance, ticket sales and waiting area has several areas of possible leakage were noted.
       ii) No documentations was available to know the age of this roof.
       iii) This area alone, had 113 individual roof patches.
       iv) Stained ceiling tiles were noted.
   b) The eastward roof is above the concession, public restrooms, and the office with alarm panel.
       i) No documentations was available to know the age of this roof.
       ii) The concession and restroom roof appears to be in satisfactory condition but is aging.
       iii) Stained ceiling were noted.
   c) The 3rd roof is further east and north and is the main theater hallways and the mechanical room.
       i) The storage/mechanical room and the north hallway roof has a major slop issue where rainwater does
            not drain from the roof and is pooling in various areas.
       ii) No documentations was available to know the age of this roof.
       iii) It shows numerous areas of low, non-sloping areas.
       iv) Stained ceiling were noted.
   d) The main roof is the roof over the theaters
       i) The main Theater roof is older and worn.
       ii) No documentations was available to know the age of this roof.
       iii) Many stained ceiling were noted




2) One major concern is the downspout trash-guards were covered with debris and the roof was retaining water.
   While performing inspection, Coil inspector removed the trash from the guard to allow for drainage on roof C.
   a) Routine maintenance needs completed on the roofing systems.
   b) The roofs are designed to support the roof membrane and a reasonable amount of water. When the trash-
      guards are blocked, the roof will retain water and a gallon of water weighs

Observations and Discussion:

1) The ballast covered EDPM membrane roof cover appears to be in used condition. There is evidence of
   leakage in several areas and evidence of past repairs.
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   a) From Google aerial and personal photos taken, it is evident that the roof has reached its life
      expectancy
2) There is no documentation of the date of installation EPDM roof.
3) Proper walking surfaces should be installed in the roof to facilitate servicing of equipment.

Recommendations, Costs, and Priorities:

  Recommendations                                        Costs                     Time Frame

                       Re-roof the entire building
   Roofs A, B, C & D                                     $450,000                   Immediate
                       (approximately 35,000 sq. Ft)
   Roofs A, B, C & D   Install walkway pavers to          $3,000-$7,000             During new roof
                       equipment                                                   installation




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Electrical

Description

1) The electrical service to the building is in satisfactory condition. No noted errors from visual inspections or from
   the current tenant.
2) The building is equipped with 208v/120v 3 phase 4 wire electrical service.
3) The breaker panels were unlocked. The individual breakers were marked noting the usable areas. All wiring
   observed was copper. No aluminum was reported.
4) Interior lighting was a combination of fluorescent, metal halide and recessed incandescent.

Observations and Discussion:

1)   While detailed load calculations were not performed, no problems are suspected with the service capacity.
2)   The service should be adequate for the present usage.
3)   The grounding electrode conductors at the exterior are intact and serviceable.
4)   There is one single 120v duplex with packing take over the outlet. This is in the dish washing area.

Recommendations, Costs and Priorities:


     Recommendations                                            Costs                        Time Frame

     Research duplex      May be a faulty duplex outlet          Minimal                      Immediate




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Heating Air Conditioning System
Description:

1) The building is heated with a total of twenty (20) roof-mounted, gas fired, heating (electric cooling) units.
2) The type of refrigerant used in the air conditioning systems could not be verified.
3) The heated/cooled air is distributed is handled by the same air handling equipment
   previously mentioned in the heating section.

Observations and Discussion:

1) The oldest of the rooftop units are estimated at 31 years old.
2) While it is impossible to predict with certainty when a heat exchanger / compressor will fail, the
   average life for heating equipment of this type is 15 to 20 years.
3) It was not feasible to observe the units in heating mode operation. (Outside air temperatures were in the 80’s)
4) The temperatures was comfortable in the building and the A/C was running currently.
5) The air discharge distribution appears adequate in most areas. Some pressurization issues were observed.
   This may be caused by the enormous ceilings and areas. (Theaters)

Recommendations, Costs, and Priorities

 Recommendations                               Costs                       Time Frame
   HVAC Units (20        Replace Rooftop        $6,000 – $20,000             At time of remodel or as a Capital
  Total)                 Unit                   Per/unit                    Improvement




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Plumbing

Description:

1) Supply
   a) The building is supplied with a 2-inch diameter water supply line into the building.
   b) The main shut off valve is in the main storage mechanical room.
   c) One water meter was located.
   d) All supply plumbing examined is copper.

2) Waste
   a) Most of the waste piping is under-slab and not visible for observation.
   b) Visible piping was PVC.

3) Women’s Public Restroom.
   a) There are 8 toilets with manual flush valves.
      i) There is one handicap with manual flush valve stall that does not meet the ADAAG code for circulation.
   b) There are 5 sinks with battery operated on/off valves.

4) Men’s Public Restroom
   a) There are 5 toilets with manual flush valves.
      i) There is one handicap with manual flush valve stall that does not meet the ADAAG code for circulation.
   b) There are 4 urinals
      i) There is one handicap urinal
   c) All had working battery operated flush valves.
   d) There are 5 sinks
   e) All had working battery operated on/off valves.

5) Single stall restroom
   a) Located on the 2nd floor north with manual flush valve.
   b) No deficiency is noted.

6) Water Heating
   a) There are two 50-gallon electric water heaters.
   b) One 50 gallon is in a mechanical room off the public restrooms.
   c) One 50 gallon is in a mechanical room off kitchen/dishwashing area.
      i) These units were unplugged, had energy smart controller attached, but was not tested.




7) Backflow Prevention valves
   a) Appears to be leaking
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   b) Required City and State inspection has expired.

Observations and Discussion:

1) No major deficiencies were noted in the plumbing system during the assessment. The location of the main
   water line to the property was not determined.
2) Some corrosion was observed at the water heater unit.

Recommendations, Costs and Priorities

  Recommendations                                       Costs                   Time Frame
  Water Heaters         Repair Water Leak               Minimal                 1 year

  Backflow Prevention Inspections & Repair as           Minimal                 1 year
  Valves              required




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Exhaust & Ventilation

Description:

1) There are several exhaust / ventilation units in the building.
2) The public restrooms are ventilated by exhaust fans
3) The building receives fresh air from the heating and cooling rooftop units. These units are equipped with
   fresh-air makeup units, which allow fresh air from the exterior to enter the return air plenum. This
   introduction of fresh air helps to improve indoor air quality as well as compensate for air that is expelled
   through exhaust fans.

Observations and Discussion:

1) Ventilation of the building is provided by localized exhaust fans located in bathrooms and kitchen areas. No
   rooftop exhaust fans were noted.

Recommendations, Costs and Priorities

 Recommendations                                        Costs                     Time Frame
                       Service exhaust and
 Exhaust Fans                                           Minor                     As needed
                       ventilation equipment




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Closing Comments
 This report provides you with an overview of the condition of the major components in the
 building. This building is in adequate shape and repairs have been maintained. The major
 components, HVAC units and structural routine maintenance appears to be less. Should you
 have any questions, please do not hesitate to contact us.

 Please find photographs documenting several conditions noted in Appendix A.


 Sincerely,


BARRY DENNISON          Director of Facilities
Office: 573.554.1888 | cell: 573.220.3795
209 E Broadway, Columbia, MO 65203
Barry@coilfm.com
Coil Facilities Management | Building a Better Community




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  Appendix A Summary of Photographs

Exterior




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Interior




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Life Safety & Fire Protection Inspections




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Roofing




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Electrical




HVAC




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Plumbing




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